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                              No. 22-14274


              UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT


                        GRAY TELEVISION, INC.,

                                                Petitioner,

                                    v.

       FEDERAL COMMUNICATIONS COMMISSION; and
             UNITED STATES OF AMERICA,

                                                Respondents.


              On petition for review of an agency order


  BRIEF OF AMICUS CURIAE FREE STATE FOUNDATION
            IN SUPPORT OF PETITIONERS


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Gray Television, Inc. v. FCC, No. 22-14274
         CERTIFICATE OF INTERESTED PERSONS AND
           CORPORATE DISCLOSURE STATEMENT
     Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh
Circuit Rules 26.1-1 through 26.1-3, undersigned counsel provides this

Certificate of Interested Persons and Corporate Disclosure Statement.

To the best of counsel’s knowledge, the following persons and entities

may have an interest in the outcome of this case:

Parties and counsel

Atlanta Assembly, LLC – Subsidiary of Gray Media Group, Inc.
Citrin, Sarah E. – FCC

Cooley LLP – Counsel for Petitioner

Dynamic Captioning, LLC – Subsidiary of Gray Media Group, Inc.

Ellison, P. Michelle – FCC

Federal Communications Commission (FCC)

Feore, John R. – Cooley LLP
Folliard III, Robert J. – Gray Television, Inc.

Garland, Merrick B. – U.S. Department of Justice

Gray Media Group, Inc.

Gray Television, Inc.

Gray Television Licensee, LLC

Joslin, William P. – Gray Media Group, Inc.

Kreisman, Barbara A. – FCC

Latek, Kevin P. – Gray Television, Inc.
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McDowell, Robert M. – Cooley LLP

Miller, Keith S. – Gray Television, Inc.

Mills, David E. – Cooley LLP

Nicholson, Robert B. – U.S. Department of Justice
PowerNation Studios, LLC

Rademacher, Jason E. – Counsel for Gray Television, Inc.

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Stewart, Joan – Wiley Rein LLP

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United States of America

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Free State Foundation

May, Randolph J. – Free State Foundation

Stein Mitchell Beato Missner LLP




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     To the best of undersigned counsel’s knowledge, no other persons,

associations of persons, firms, partnerships, or corporations have an

interest in the outcome of this case or appeal.

                                  /s/ Jeffrey S. Beelaert
                                  Counsel for Amicus Curiae




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                        INTEREST OF AMICUS 1
     The Free State Foundation (FSF) is a nonprofit, nonpartisan think

tank founded in 2006. Since its founding, it has proclaimed as its mission

the promotion of free markets, free speech, limited government, and rule

of law principles at the federal level and in Maryland, and to advocate

laws and policies in furtherance of these principles.

     Free State Foundation scholars have deep experience and broad

expertise in communications law and policy, and FSF is widely

acknowledged to be one of the nation’s leading think tanks in this area.

More specifically, and relevant to this case, FSF scholars have
undertaken considerable scholarly work in administrative law and

constitutional law, including First Amendment law, and they have

recognized expertise in these areas.
     Free State Foundation Founder and President Randolph J. May

has served as Associate General Counsel at the Federal Communications

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associations, including service as a past Chair of the American Bar

Association’s Section of Administrative Law and Regulatory Practice. He

is a Fellow of the National Academy of Public Administration. Mr. May


1 This brief is submitted under Federal Rule of Appellate Procedure 29(a)

with the consent of all parties. Undersigned counsel for amicus curiae
certifies that this brief was not authored in whole or in part by counsel
for any of the parties; no party or party’s counsel contributed money for
the brief; and no one other than amicus and its counsel have contributed
to this brief.
                                       1
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a 2009 Lincoln Fellow at the Claremont Institute.
                           INTRODUCTION
     This case raises important due process and First Amendment
issues that extend beyond the immediate impact that this Court’s ruling

may have on Gray or on any one TV broadcaster. 2                 Agencies must

articulate rules with legally fixed standards, and agencies must follow
those rules to avoid arbitrary enforcement. No agency may sanction a

regulated party based on a freewheeling interpretation of its own rules,

articulated for the first time in an administrative proceeding. The FCC’s

approach to dealing with Gray’s alleged offenses in this case calls to mind

a game of government “gotcha,” full of surprises and lacking reasoned

decision making.



2  Gray presented compelling arguments explaining why the FCC’s
imposition of the forfeiture exceeds the agency’s statutory authority.
This brief focuses on due process and First Amendment violations.
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     Unless the Court vacates the FCC’s forfeiture order, this case could

serve as a roadmap for agencies to flout due process and to abridge free

speech through the arbitrary use of authority. If the FCC’s order stands,

it likely will have negative consequences for other parties subject to the
FCC’s expansive interpretation of its regulatory jurisdiction and for all

regulated parties.

     The FCC’s order violates Gray’s due process and First Amendment

rights. As for due process, Gray lacked fair notice that the transaction

violated the so-called “top-four prohibition” found in the local television

ownership rule at 47 C.F.R. § 73.3555(b). The FCC does not even claim

that Gray violated the plain terms of this regulation. Gray did not.

Instead, the agency claims that Gray violated an interpretive note to the

rule, which itself depends on a flawed reading of the FCC’s 2016 Second

Report and Order (adopting Note 11).3 That is agency decision making

run amok.

     And this is only the beginning of the layers of convoluted and

confusing administrative interpretations adopted by the FCC, upon

3  The Commission issued the Second Report and Order in connection
with the agency’s 2014 quadrennial review of its media ownership rules.
In adopting Note 11, the FCC purported to “clarify” certain aspects of the
agency’s “application of the top-four prohibition” from 47 C.F.R.
§ 73.3555(b), including application of the prohibition to what the FCC
described as “affiliation swaps” resulting “in a single entity obtaining
control over two of the top-four-rated stations in a market.” 31 F.C.C.R.
9864, 9871 (Aug. 25, 2016) (emphasis added). No affiliation swap
occurred here.
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which imposition of the forfeiture depended. If anything, to comport with

due process requirements, the FCC’s newfound interpretation of its

authority to penalize Gray—based on an amalgamation of the Rule (47

C.F.R. § 73.3555) + Note 11 + the Second Report and Order—should have
been applied only prospectively, not retroactively.

     As for the First Amendment, the forfeiture order plainly applies to

Gray’s acquisition of a network program affiliation agreement, not the

transfer of a broadcast license. The agency apparently recognized a

limitation on its ability to regulate Gray’s transaction in these

circumstances because the FCC purported to rely on “ancillary authority”

found nowhere in the relevant statutory text.             In doing so, the

Commission effectively seeks to regulate broadcast content. But it cannot

do that: both the Communications Act, 47 U.S.C. § 326, and the First

Amendment prohibit the FCC from regulating broadcast content. This

Court should vacate the agency’s forfeiture order for these reasons.

     In fact, the media landscape has changed dramatically in the years
since the FCC adopted its television ownership rules.            Residents of

Anchorage, Alaska, and almost all other consumers across the country,

have access to a plethora of media outlets, including multiple sources of
video news, information, and entertainment.            It is arbitrary and

capricious for the FCC to impose forfeiture in this case without

accounting for the First Amendment. The FCC erred in broadly applying

its ownership rules, whose constitutional rationale has been called into

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serious question and are now more dubious than ever, in a way that

regulates broadcast content.     This is especially so when the agency

steadfastly refuses to complete on a timely basis the periodic reviews that

Congress has mandated specifically to determine “whether any of such
rules are necessary in the public interest as the result of competition.”

47 U.S.C. § 202(h).

                              ARGUMENT
I.   The FCC violated Gray’s due process rights because
     the agency gave no fair notice of its novel
     interpretation of Note 11.
     Due process serves as a fundamental principle of fairness by giving

notice of the law to those who must comply with it and by constraining

the agencies who must enforce it. Due process prevents the FCC (as well
as all other agencies) from engaging in discriminatory enforcement. No

agency may take an enforcement action against a regulated party based

on novel interpretations of its rules, especially when the agency never
provided prior notice of that which it seeks to regulate.
     A.    Fair notice is fundamental to the rule of law.
     A longstanding “principle in our legal system is that laws which
regulate persons or entities must give fair notice of conduct that is

forbidden or required.” FCC v. Fox Television Stations, Inc., 567 U.S.

239, 253 (2012). “[C]larity in regulation is essential to the protections

provided by the Due Process Clause of the Fifth Amendment.” Id. No

court should allow an agency to regulate a party without fair notice of

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prohibited activities, as that would allow the agency to engage in

“seriously discriminatory enforcement.” United States v. Williams, 553

U.S. 285, 304 (2008).

     For centuries, the “government of the United States has been
emphatically termed a government of laws, and not of men.” Marbury v.

Madison, 5 U.S. 137, 163 (1803). Philosophers, scholars, and jurists have

offered various formulations of the rule of law over the years since

Marbury. In general, the rule of law includes four elements: “(1) fidelity

to rules (2) of principled predictability (3) embodied in valid authority

(4) that is external to individual government decision makers.” Ronald

A. Cass, The Rule of Law in America 4 (2001). The rule of law essentially

tells agencies “how, to what ends, and within what limits they may

exercise power” through government regulation. Id.

     Predictability and clarity are important. “The rule of law requires

that legal rules instruct those affected by them in a way that allows a

knowledgeable party to anticipate the manner in which a rule will be
applied without knowing particulars about the individuals who will

interpret and enforce the law.” Id. at 8. This means that the legal rules

must be “sufficiently clear to be understood.” Id. A regulated party
cannot follow regulations “unless their terms can be understood by those

who must obey.” Id. at 11. And, at the same time, the rules must provide

“principled predictability” to guide agencies in their decision making. Id.



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     The principle of predictability confers legitimacy and encourages

compliance. A clear, foreseeable rule enhances the rule of law because

both regulators and regulated parties have certainty as to the relevant

regulatory requirements and as to the scope of the agency’s authority to
enforce those requirements.       Insofar as a rule is characterized by

principled predictability, regulated parties must comply with it, and

regulators are justified in taking enforcement actions for noncompliance.

The rule of law “pulls society in the direction of knowable, predictable,

rule-based decision making, toward the alignment of power with

legitimacy.” Id. at 19.

     Conversely, when government agencies act to sanction regulated

parties who are unable to discern exactly what a rule requires, the

enforcement action constitutes an arbitrary use of governmental power.
Regulatory arbitrariness (or agency overreach) violates fundamental rule

of law principles embodied in due process. The same is true for selective

enforcement or retroactive enforcement, which necessarily results in

unfairness toward regulated parties and the erosion of an agencies’

institutional legitimacy. Bureaucratic power must be constrained by

“precision and guidance.” Fox, 567 U.S. at 253 (citing Grayned v. City of

Rockford, 408 U.S. 104, 108–09 (1972)).

     Strict adherence to the rule of law means that regulated parties

“are entitled to be informed as to what the State commands or forbids.”
Papachristou v. Jacksonville, 405 U.S. 156, 162 (1972) (quoting Lanzetta

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v. New Jersey, 306 U.S. 451, 453 (1939)). Agencies must articulate rules

with “legally fixed standards,” and agencies must follow those standards

to avoid arbitrary enforcement. Sistersong Women of Color Reproductive

Justice Collective v. Governor of Georgia, 40 F.4th 1320, 1327 (11th Cir.
2022) (quoting Beckles v. United States, 580 U.S. 256, 266 (2017)).

      An agency’s interpretation of its rules is not entitled to “controlling

weight” because a court still must conduct “an independent inquiry” as

to the “character and context” of the agency’s interpretation. Kisor v.

Wilkie, 139 S. Ct. 2400, 2416 (2019). No court should credit an agency’s

ad hoc statements or post hoc rationalizations as it conducts its

independent inquiry. Id. at 2421. Nor should the agency’s interpretation

of its rule create an “unfair surprise” or upset the “reliance interests” of

the regulated party. Id. That is, however, exactly what the FCC has

done here.
      B.     The forfeiture order failed to provide fair notice
             to Gray.
      The FCC’s imposition of a $518,283 forfeiture failed to provide Gray

with fair notice in at least three significant respects. 4

      First, the FCC did not provide Gray with fair notice of the agency’s

interpretation of 47 C.F.R. § 73.3555 such that Note 11 required the

agency to use the most recent TV ratings data available, as opposed to



4 Amicus joins the additional reasons articulated by Gray for this Cout

to vacate the agency’s order. See Opening Br. 20–32.
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the most recent data showing the ranking at the relevant time. The

FCC’s interpretation confounded Gray’s reasonable reading of 47 C.F.R.

§ 73.355(b)(1)(ii), which states that, for purposes of the top-four

prohibition rule, the FCC considers the designated market area at the
time of the relevant transaction “based on the most recent all-day (9 a.m.-

midnight) audience share, as measured by Nielsen Media Research or by

any comparable professional, accepted audience ratings service.” At the

time of the relevant transaction, Gray already owned two top-four

stations, so it reasonably understood that this ratings provision did not

apply. The Second Report and Order supports Gray’s reading because it

states that, for purposes of making the top-four station determination,

the FCC must rely on the ranking “at the time the agreement is executed.”

31 F.C.C.R. at 9885 n.141 (emphasis added). Here, the transaction did

not “result in” Gray owning two top-four stations at the time that it

executed the agreement. Gray already owned two top-four stations.

     Second, the FCC did not provide Gray with fair notice of its ad hoc
interpretation that Note 11 prohibits transactions that result in what the

agency referred to as a new “top-four combination” of local TV stations in

the market. See A4 (¶9), A5 (¶11). The plain text of Note 11 prohibits
“the execution of any agreement” that itself “would result in the licensee

of the new affiliate” directly or indirectly “owning, operating, or

controlling two of the top-four rated” TV stations in the area “at the time

of the agreement.”    47 C.F.R. §73.3555 (Note 11) (emphasis added).

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Nothing in the text of Note 11 or the Second Report and Order prohibits

transactions by pre-existing owners already in control of two of the top-

four stations. Nor is there anything to suggest that the FCC somehow

must consider a transaction that creates a new top-four combination.
     As Commissioner Simington explained in his dissent, this

particular transaction did not result in Gray becoming the owner of two

of the top-four stations in Anchorage because Gray already owned two of

the stations allegedly violating the top-four prohibition rule before it

completed the transaction.     See A17–18.      “If Gray previously had a

duopoly in Anchorage, its behavior was not prohibited under a plain

reading of the Rule.” A18. The FCC thus found a regulatory violation

where none exists. And in doing so, the agency—for the first time—

adopted a strained reading of Note 11 prohibiting transactions that result

in “a new top-four combination” of stations. A5 (¶11) (emphasis added).

That is not what Note 11 says.

     Third, the FCC did not provide Gray with fair notice that its ad hoc
interpretation of Note 11 applied to transactions other than those

involving traditional affiliation swaps. The plain text of Note 11 merely

prohibits agreements in which a station “acquires the network affiliation
of another station . . . if the change in the network affiliations would

result in the licensee of the new affiliate” controlling two of the top-four

rated stations. 47 C.F.R. § 73.3555 (Note 11). Here, the FCC arbitrarily

expanded the scope of the rule. The agency found that, “regardless of

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whether an entity obtains a second Top 4 station from a license transfer

or by acquiring the affiliation of another station in the market,” the FCC

still has authority to act because it considers either transaction to be

“functionally the same” for purposes of the top-four prohibition rule. A8
(¶17) (emphasis added). But Note 11 “means what it means,” and this

Court must give effect to the plain language of the rule without the FCC’s

policy-laden gloss. Kisor, 139 S. Ct. at 2415.

     The FCC never provided notice (or any meaningful explanation) as

to how a license transfer agreement could be considered “functionally the

same” as an affiliation swap for purposes of the top-four prohibition rule

when the rule itself mentions no such equivalency test. It may be “that

the intent of the Rule is to prevent the acquisition of market share

through a swap in network affiliation,” but that is not what occurred

here. A17 (Commissioner Nathan Simington, dissenting) (explaining

how the FCC’s order “misapplies the plain language of Section 73.3555,

Note 11.”) (emphasis added). Gray did not execute an affiliation swap.
     Each of these fair notice violations depended on layers of convoluted

and confusing administrative interpretations—essentially, one agency

misinterpretation piled upon another to reach the FCC’s desired policy
goal of enforcement. Gray, of course, had no way of knowing any of this

as a regulated party.

     Gray had no way of knowing what to expect from the FCC because

the agency had never previously articulated how Note 11, despite its own

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limited text, could apply here. Neither Gray nor any other party could

have anticipated the agency’s novel interpretations.               Before Gray

executed the transaction, it had no way of knowing that the FCC would

apply Note 11—(1) even though Gray already owned two stations in the
top four based on ratings data; (2) to prohibit transactions that result in

what the agency found were new top-four combinations of local TV

stations; and (3) to transactions involving anything other than affiliation

swaps deemed by the agency to be “functionally the same” as the license

transfer that actually occurred here.

     In an adjudicative proceeding, no agency may impose “new liability”

on a regulated party “for past actions taken in good-faith reliance” on

earlier agency pronouncements. NLRB v. Bell Aerospace Co., 416 U.S.

267, 295 (1974). All agencies, including the FCC, instead must provide

fair warning to regulated parties of the conduct prohibited by regulation.

Christopher v. SmithKline Beecham Corporation, 567 U.S. 142, 156

(2012). The FCC failed to do that here, as it never engaged in notice-and-
comment rulemaking to articulate its view of the applicable ownership

rules before taking regulatory action against Gray.           Id. (citing Long

Island Care at Home, Ltd. v. Coke, 551 U.S. 158, 170–71 (2007)). Nor has
the agency ever suggested that the Communications Act or any FCC

regulations “provide clear notice” of the positions that it articulated here.

Id. at 157. No prior agency guidance supports the FCC’s actions. Id.

Indeed, it is unclear whether the FCC ever has “initiated any

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enforcement actions” based on the same (incorrect) interpretation of the

ownership rules. Id.

     This Court should not defer to the FCC’s reading, especially

because Congress has required the agency periodically to review and to
update its rules to account for increased competition. See 47 U.S.C.

§ 202(h).   Given the FCC’s purported expertise in evaluating media

markets,    this   Court    should     require    the   agency       to   articulate

interpretations of its rules with sufficient clarity for regulated parties to

understand them. The responsibility does not fall on private parties to

guess what the agency might deem to pass muster under yet-to-be-

determined extensions of existing regulatory policy.

     “Traditional    concepts     of      due    process     incorporated       into

administrative law preclude an agency from penalizing a private party

for violating a rule without first providing adequate notice of the

substance of the rule.” Satellite Broad. Co. v. FCC, 824 F. 2d 1, 3 (D.C.

Cir. 1987). Absent “full notice” of the agency’s interpretation, the FCC
“through its regulatory power cannot, in effect, punish a member of the

regulated class for reasonably interpreting Commission rules.” Id. at 4.

This Court should not condone that.
     Undoubtedly, the Court’s decision will have implications in future

agency actions taken by the FCC in regulating local broadcast stations

and other providers. This Court should take the opportunity to reinforce

well-established principles of administrative law. “It is one thing to

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expect regulated parties to conform their conduct to an agency’s

interpretations once the agency announces them; it is quite another to

require regulated parties to divine the agency’s interpretations in

advance or else be held liable when the agency announces its
interpretations for the first time in an enforcement proceeding.”

SmithKline, 567 U.S. at 158–59.

     The Court should not accept the FCC’s actions as it could embolden

other agencies to take shortcuts in the future. A decision in favor of the

FCC here “creates a risk that agencies will promulgate vague and open-

ended regulations that they can later interpret as they see fit, thereby

frustrating the notice and predictability purposes of rulemaking.” Id. at

158 (cleaned up). Even assuming simply for the sake of argument that

the Commission’s enforcement action, based on new interpretations of

the conjoined Rule + Note + Second Report and Order, was reasonable

and not arbitrary or capricious, due process still requires the agency to

apply those interpretations prospectively, not retroactively.              The
forfeiture order cannot stand.
     C.    The FCC’s ad hoc interpretation of the top-four
           rule provided Gray no fair notice, especially in the
           context of a rapidly changing media market.
     Predictability in the law is critically important in the modern

communications marketplace. Local broadcast TV stations, like other
media providers, operate in a marketplace undergoing dynamic change

from technological innovation, cross-platform competition, changing
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consumer media consumption habits, and shifts in advertising models

and revenue flows. In many respects, new media sources, including

YouTube, Facebook, and Twitter, as well as other outlets accessible on

the internet, have overtaken the information marketplace in which
traditional newspapers, broadcast TV, and radio stations previously

thrived. On top of that, local broadcast TV stations continue to face

competition from other video channels offered by cable and satellite

networks.

       To account for increased competition, the FCC must periodically

review and update its rules. See 47 U.S.C. § 202(h). Congress required

the FCC to review its ownership rules to determine whether the rules

remain “necessary in the public interest as a result of competition” and

to “repeal or modify any regulation [that the Commission] determines is

no longer in the public interest.” Id.

       In fact, the Commission’s 2017 Order on Reconsideration relaxed

the top–four prohibition rule at issue here. The FCC recognized “the
dynamic nature of the media marketplace” and took “concrete steps to

update its broadcast ownership rules to reflect reality.” 32 F.C.C.R. 9802,

9803 (Nov. 20, 2017). The agency acknowledged that the “Second Report
and Order issued in August 2016”—the order relied on by the FCC in this

case—“manifestly failed to adopt any meaningful changes to these

[ownership] rules” based on dynamic changes in the marketplace. Id. at

¶ 1.   In issuing this order, the Commission “refuse[d] to ignore the

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changed landscape” by instead adopting “broadcast ownership rules that

reflect the present, not the past.” Id.

      As the Supreme Court later explained, the FCC reasonably

concluded that its then-existing ownership rules no longer “serve[d] the
public interest.” FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1160

(2021). “The FCC reasoned that the historical justifications for those

ownership rules no longer apply in today’s media market, and that

permitting efficient combinations among . . . television stations . . . would

benefit consumers.” Id.

     Competitive changes have occurred in Anchorage market. Current

TVGuide listings for Anchorage include the following choices:


                        2.1    KTUU       NBC
                        4.1    KTBY       Fox
                        5.1    KYES       CBS
                        7.1    KAKM       PBS
                        11.1   KYUR       ABC
                        15.1   KYUK       PBS
                        33.1   KDKM       Ion
                        35.1   KCFT       Cowboy
                        41.1   KLDY       TBN
Anchorage, AK – TV Schedule. 5           There also are more than thirty

multicast channels available in the Anchorage market, some of which are

redundant or are repeaters intended to provide better reception for


5 https://www.tvguide.com/listings/zip/99524-anchorage-ak/



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viewers in specific local geographical areas, but most of which offer

programming other than that available on the primary channels.

     Throughout much of the Anchorage market, several providers also

offer home internet service. See Broadband Now, Internet Providers in
Anchorage, Alaska. 6 Cable operators also offer access to video services

via cable broadband internet. And nearly all residents in Anchorage have

access to at least two competing satellite broadband providers. Many

consumers     have      additional   video      options     through      Alaska

Communications’ DSL and fiber networks, as well as through Borealis

broadband’s fixed wireless access network.
     Anchorage has a dynamic media market that offers consumers a

multitude of choices.     To compete, providers need to make capital-

intensive investments. And providers need stability as to the meaning
and application of relevant regulations so that they can plan investments

and deploy their resources effectively.       Gray had reasonable private

capital investment-backed expectations based on the plain language of
the FCC’s ownership regulations and governing laws.                  And Gray

depended on the accuracy of publicly available information to plan, to

negotiate, and to execute its acquisition of programming content, as well

as assets and personnel, and to make subsequent investment decisions

to upgrade its operations.



6 https://broadbandnow.com/Alaska/Anchorage

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      Many local broadcast TV stations also depend on the same

information, as well as the FCC’s actions, when deciding to acquire

programming content and to invest resources. Accurate information,

regulatory predictability, and legal clarity are all required to ensure
viability in the digital media marketplace.

      But in today’s tumultuous media market, the financial risks of

investing in new programming content necessarily are increased when

the   rules   are   unclear   and   unknown.          Arbitrary     regulatory

interpretations, such as those advanced by the FCC for the first time in

this case, undermine private investment.

      None of this should come as a surprise. “The Commission has noted

on several occasions that regulatory uncertainty can discourage

investment, and so unnecessary regulatory uncertainty should be

avoided.” Space Station Licensing, 18 F.C.C.R. 10,760, 10,781 n.115

(May 19, 2003) (listing several examples). In a 2018 order classifying

broadband internet service, the FCC stated that it “has long recognized
that regulatory burdens and uncertainty . . . can deter investment by

regulated entities.” Restoring Internet Freedom, 33 F.C.C.R. 311, 364

(Jan. 4, 2018) (¶88). To be sure, “regulatory uncertainty serves as a major
barrier to investment and innovation.” Id. at 454 (¶ 249); see also Mozilla

v. FCC, 940 F.3d 1, 49–55 (D.C. Cir. 2019) (discussing the agency’s

analysis of investment and innovation).



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     And in a separate 2018 order addressing wireless messaging, the

FCC recognized that even the “threat of regulation can have significant

deleterious effects on investment.”           Wireless Messaging Order, 33

F.C.C.R. 12,075, 12,101 (Dec. 13, 2018) (¶ 49) (emphasis added).                 In
dynamic    technological     markets      that   constantly     undergo      major

developments, the FCC recognized the value of “regulatory certainty”—

i.e., minimal regulatory actions promote investment and innovation in a

competitive market. Id. (emphasis added).

     Parties frequently seek judicial review of agency rules that purport

to eliminate regulatory uncertainty. See, e.g., AT&T Inc. v. FCC, 452

F.3d 830, 836 (D.C. Cir. 2006). They do so for good reason: not all agency

rules have a positive effect on investment. “Besides imposing the usual

costs of regulatory compliance,” many FCC orders actually “increase

uncertainty in policy, which both reason and the most recent rigorous

econometric evidence suggest reduce investment.” US Telecom Assoc. v.

FCC, 825 F.3d 674, 754–55 (D.C. Cir. 2016) (Williams, J., concurring in
part and dissenting in part) (citing Scott R. Baker, Nicholas Bloom &

Steven J. Davis, Measuring Economic Policy Uncertainty, 131 Quarterly

Journal of Economics 1593–1636 (2016)).
     So, regulated parties often find themselves in a lose-lose position.

Not only must regulated parties “divine the agency’s interpretations in

advance or else be held liable when the agency announces its

interpretations for the first time in an enforcement proceeding,”

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SmithKline, 567 U.S. at 158, but they also must suffer the consequences

that regulatory uncertainty inflicts upon investment. Courts should not

condone such “arbitrary government.” Talk America, Inc. v. Michigan

Bell Tel. Co., 564 U.S. 50, 69 (2011) (Scalia, J., concurring). Nor should
courts defer to an “agency’s interpretation of its own rule” when deference

simply would encourage “the agency to enact vague rules which give it

the power, in future adjudications, to do what it pleases.” Id.

      Due process requires more from agencies. To comply with well-

established due process principles, agencies must articulate rules with

legally fixed standards, and agencies must follow those rules to avoid

arbitrary enforcement. The FCC could exercise its authority to conduct

notice-and-comment      rulemaking      or   to   issue   declaratory     orders

prospectively so that regulated parties can understand agency

interpretations before being subject to penalties. Rules should be clear

and known.     This Court should reject novel agency interpretations

applied retroactively to penalize parties like Gray.
II.   The FCC’s application of Note 11 violated the First
      Amendment in these circumstances.
      A.   Broadcasters have free speech right to choose
           programming content.
      Whenever the FCC seeks to regulate programming content, the

“regulations invariably raise First Amendment issues.” Motion Picture
Association of America, Inc. v. FCC, 309 F.3d 796, 805 (D.C. Cir. 2002).

Congress gave the agency clear guidance: “no regulation or condition

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shall be promulgated or fixed by the Commission which shall interfere

with the right of free speech by means of radio communication.” 47

U.S.C. § 326. That statutory provision codifies the First Amendment

right of broadcasters to select the programming content. “Government
regulation over the content of broadcast programming must be narrow,

and that broadcast licensees must retain abundant discretion over

programming choices.” Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622,

651 (1994) (emphasis added).
     B.    The FCC impermissibly regulated programming
           content.
     The FCC claims its novel interpretation of Note 11 does not violate

the First Amendment and Section 326. The agency claims that its

enforcement action against Gray “does not consider content but rather
market concentration” and that the agency has a rational basis in

“advancing the goals of competition and diversity.” A11 (¶¶ 24–25). The

FCC states that “in no way does the rule intrude into programming
content decisions.” Id. at ¶ 24. But that is not right. The Commission’s

application of Note 11, in effect, regulates Gray’s programming because

the agency penalized Gray for acquiring KTVA’s CBS network affiliation

to gain access to new content and to upgrade existing programming.

     Even if the Court were to credit the FCC’s claim that its regulatory

interpretation imposed a content-neutral restriction on broadcast

programming in this case, the agency defeats its own argument. The


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Commission insists that it had “a rational basis” for its action. Id. at

¶ 25; see also Turner, 512 U.S. at 637–41 (discussing First Amendment

scrutiny). Courts routinely “apply a rational basis standard of review” in

considering local ownership orders. Sinclair Broad. Group, Inc. v. FCC,
284 F.3d 148, 167 (D.C. Cir. 2002); accord Prometheus Radio Project v.

FCC, 652 F.3d 431, 464–65 (3d Cir. 2011). Any restriction on local TV

station ownership must be “rationally” related to the Commission’s

interest in promoting the “diversification of ownership” and “achieving

greater diversity of viewpoints.” FCC v. Nat’l Citizens Comm. for Broad.,

436 U.S. 775, 796 (1978).

     Yet the FCC failed that test. By imposing a substantial penalty on

Gray for its acquisition of additional programming content, the agency

has not promoted competition or diversity in Anchorage. A TV broadcast

station’s acquisition of additional programming content generates

operational efficiencies that expand programming choices for consumers.

This case illustrates that. Gray’s purchase of programming content, and
other assets from KTVA, expanded programming content on KYES. Gray

also has maintained the same network affiliations. The Commission

never explained in any meaningful way how the acquisition impacted
competition in the already tumultuous local market.

     Gray did not acquire KTVA’s broadcast license.                Thus, the

transaction did not reduce opportunities for other broadcasters to

compete in the Anchorage market. Consumers have many available

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alternate media outlets in Anchorage, including broadcast stations,

satellite TV, radio, cable TV, and countless internet services.
     C.    The FCC’s ad hoc interpretation of the top-four
           rule violated the First Amendment, especially in
           the context of a rapidly changing media market.
     The FCC claimed that its interpretation of Note 11 “is rationally

related to the substantial government interests in promoting competition

and diversity.” A11 (¶ 24). But this Court should reject that claim, as

context matters. The FCC glosses over the realities of the Anchorage

market. Technological advances already have created several alternative
media distribution outlets for Anchorage consumers to enjoy video

programming.     Even the FCC has recognized that “many television

broadcast stations use digital transmission technologies to offer multiple

programming     streams     (digital   multicast      channels)      to   viewers.”

Communications Marketplace Report, Dkt. No. 22-203, 2022 WL

18110553, at ¶ 264 (Dec. 30, 2022). As a matter of consumer choice, these
technological developments have expanded opportunities for competition

and for diverse programming.

     Broadcast TV stations offer linear video programming channels to
over-the-air households connected to an antenna, and they are only one

video viewing option among many. Today, broadcast TV stations compete

in a dynamic competitive marketplace with other video technology

platforms, including cable multi-channel video distributor networks,

direct broadcast satellite networks, and internet-based alternatives.
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     The FCC has observed that “most households have access to at least

one cable provider” as well as two satellite providers. Id. at ¶ 282. That

is certainly true in Anchorage, where viewers also have a wide variety of

opportunities for internet access.      According to the FCC, more than
69 million consumers in 2021 subscribed to video programming content

provided by multichannel distributors. Id. at ¶ 287. That same year

(2021), consumer “spending on rental, streaming, and downloading

video” more than doubled, with the average household spending more

than $110 each year. Id. at ¶ 288.

     Online video distributors had high year-end subscriber numbers in

2021, including Amazon Prime Video (108 million), Netflix (68 million),

Hulu (about 45 million), and Disney+ (about 39 million). Id. at ¶ 285.

“At the end of 2021,” the Commission explained that “15% of U.S. TV

households watched over-the-air television, and 80% of these over-the-air

households also subscribed to an [online video distributor].” Id. at ¶ 283.

That is not all. “In 2021, about 80% of U.S. households” also consumed
advertising-based video on demand provided by websites such as

YouTube and Rumble, exclusive of increasingly popular video offerings

on social media sites such as Twitter. Id. at ¶ 254.
     These facts confirm cross-platform video competition, which rapidly

continues to develop across the country. It is not a new phenomenon. At

least since Congress enacted the Telecommunications Act of 1996, the

communications marketplace environment has been characterized by

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increasing competition among a variety of media and service providers

and also by a convergence of the services offered by media companies and

telecommunications providers.”     Randolph J. May, Charting a New

Constitutional Jurisprudence for the Digital Age, 3 Charleston L. Rev.
373, 374 (2009).

     “Convergence should also have a significant impact on U.S.

jurisprudence on free speech,” especially because the internet can

“convey all major forms of communications effectively,” with the potential

to render “incoherent any regime that attempts to base the level of First

Amendment scrutiny on the technological means of transmission.”

Christopher C. Yoo, The Convergence of Broadcasting and Telephony:

Legal and Regulatory Implications, Perspectives from FSF Scholars (Jan.

4, 2010). 7 Jurists also have acknowledged changes in the marketplace:

  • Justice Thomas observed more than ten years ago that “traditional

     broadcast television and radio are no longer the ‘uniquely pervasive’

     media forms they once were.” FCC v. Fox Television Stations, Inc.,

     556 U.S. 502, 533 (2009) (Thomas, J., concurring).             “For most

     consumers,” he observed that “traditional broadcast media

     programming” has been “bundled with cable or satellite services.”
     Id. at 533–34. And even in 2009, consumers already had “freely


7 https://freestatefoundation.org//wp-

content/uploads/2019/08/Convergence_of_Broadcasting_and_Telephony-
010410.pdf.
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    available” access to the internet using “portable computer, cell

    phones, and other wireless devices” to watch video programming.

    Id. at 534 (citing May, 3 Charleston L. Rev. at 375).

  • In another case, the FCC “failed to demonstrate that allowing a
    cable operator to serve more than 30% of all cable subscribers would

    threaten to reduce either competition or diversity in programming.”

    Comcast Corp. v. FCC, 579 F.3d 1, 8 (D.C. Cir. 2009). That is

    because the record was “replete with evidence of ever increasing

    competition among video providers.” Id. Given “the entry of new

    competitors at both the programming and the distribution levels,”

    the D.C. Circuit held that “it was arbitrary and capricious for the

    Commission to conclude that a cable operator serving more than

    30% of the market poses a threat either to competition or to

    diversity in programming.” Id.

  • Then-Judge     Kavanaugh      has     recognized     that      the    “video

    programming distribution market has changed dramatically,
    especially with the rapid growth of satellite and Internet

    providers.” Comcast Cable Comm., LLC v. FCC, 717 F.3d 982, 993

    (D.C. Cir. 2013) (Kavanaugh, J., concurring).                It has been a
    “massive transformation.” Id. “In the two decades since Congress

    enacted the Cable Act of 1992, the video programming marketplace

    [was] radically transformed.” Agape Church, Inc. v. FCC, 738 F.3d

    397, 413 (D.C. Cir. 2013) (Kavanaugh J, concurring).                  “Cable

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     operators today face intense competition from a burgeoning number

     of satellite, fiber optic, and Internet television providers.” Id. at 414

     (citing, among other sources, May, 3 Charleston L. Rev. at 393–94).

     Given these changes in the media landscape, the FCC errs in
brushing aside the First Amendment implications of its enforcement

action against Gray. “The extant facts that drove” the Supreme Court

“to subject broadcasters to unique disfavor under the First Amendment

simply do not exist today.” Fox Television, 556 U.S. at 534 (Thomas, J.,

concurring). And it may be that “these dramatic changes in factual

circumstances” support the Supreme Court’s eventual “departure from

precedent under the prevailing approach to stare decisis.” Id.; accord

May, 3 Charleston L. Rev. at 385 (explaining why “the Court should

articulate a jurisprudence that generally affords the various forms of

electronic media the same strict First Amendment protection that

newspapers receive under [Miami Herald Publishing Co. v. Tornillo, 218

U.S. 241 (1974)], and that the Internet receives under [Reno v. ACLU,
521 U.S. 844 (1997)].)”

     A lot has changed since the 1970’s and 1980’s, when courts

characterized the competitive state of media markets in cases involving
the First Amendment. Heightened scrutiny now may be warranted as

agencies issue decisions that restrict the programming choices from

broadcast TV stations, as the FCC did here.



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     Either way, even in the absence of a formal change to the Supreme

Court’s jurisprudence, this Court must consider the Anchorage market

and the extent to which the FCC “rationally” promoted competition and

diversity. A11 (¶ 25). A careful review of this record demonstrates that
the agency did no such thing. Applying its ad hoc interpretation of Note

11 to Gray, the FCC did not promote competition and diverse

programming. The agency likely harmed those interests. Gray acquired

programming content to realize efficiencies and to attract viewers. There

is no evince that the transaction stifled competition.           The forfeiture

order, as applied to Gray in these circumstances, contravenes the First

Amendment.
                            CONCLUSION
     This Court should grant the petition for review and set aside as

unlawful the forfeiture order issued by the FCC against Gray.

                                       Respectfully submitted,

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                                  /s/ Jeffrey S. Beelaert
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